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 4
     Attorney for Defendant
 5   NGAI CHUNG HUNG
 6

 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                          SACRAMENTO DIVISION
10

11

12
     UNITED STATES OF AMERICA,                    ) Case No. CR S 09-0438 EJG
13                                                )
                                  Plaintiff,      )
14                                                )
            vs.                                   )
15                                                ) STIPULATION AND ORDER TO
                                                  ) CONTINUE SENTENCING
16                                                ) (AS MODIFIED)
     NGAI CHUNG HUNG; et al.,                     )
17                                                )
                                                  )
18                                Defendants.     )
                                                  )
19                                                )
20           It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
21   AMERICA, through its counsel of record, Heiko P. Coppola, Assistant United States
22   Attorney, and Defendants, NGAI CHUNG HUNG, WIN CHOU CHAN, and WAYNE
23   FENG, through their counsel of record, and without objection from the United States
24   Probation Officer assigned to this case, that the sentencing of Defendants, HUNG AND
25   FENG, now scheduled for June 24, 2011, at 9:00 a.m., and the sentencing of Defendant,
26   CHAN, now scheduled for July 29, 2011, be rescheduled to August 26, 2011, at 10:00
27   a.m. The following dates will adjust as follows: the government’s Reply or statement of
28   non-opposition shall be due August 12, 2011; Defendants’ formal objections and

                                                   1
     Stipulation and Proposed Order to                                 Case no. CR S 09-0438 EJG
     Continue Sentencing
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 1   sentencing memorandum shall be due August 5, 2011; the Pre-sentence report shall be
 2   filed with the court on July 29, 2011; Defendants’ informal objections to PSR shall be
 3   due July 8, 2011; and draft Pre-sentence report for Defendant CHAN shall be due by
 4   June 24, 2011.
 5           The parties are entering into this Stipulation to provide additional time for
 6   counsel to research loss amounts and restitution issues and to respond with informal
 7   objections to the Pre-sentence report. Further, Defendant Chan needs additional time to
 8   meet with probation officer.
 9   Dated: May 24, 2011                        Respectfully submitted,
10
                                                WISEMAN LAW GROUP, P.C.
11

12                                              /s/ Josephy J. Wiseman
                                                 JOSPEH J. WISEMAN
13                                               Attorney for Defendant Ngai Chung Hung
14
                                                /s/ Christopher Haydn-Myer
15                                               CHRISTOPHER HAYDN-MYER
                                                 Attorney for Defendant Win Chou Chan
16
                                                /s/ Dan Koukol
17
                                                 DAN KOUKOL
18                                               Attorney for Defendant Wayne Feng

19                                              By: /s/ Heiko P. Coppola
                                                HEIKO P. COPPOLA
20
                                                Assistant U.S. Attorney
21

22                                             ORDER
23
             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
24
     sentencing in the above-captioned case be continued to August 26, 2011 at 10:00 a.m.
25
     and the other dates adjust as noted by stipulation.
26
     Dated: May 26, 2011
27
                                         /s/ Edward J. Garcia
28                                       HON. EDWARD J. GARCIA
                                         Senior United States District Judge
                                                   2
     Stipulation and Proposed Order to                                     Case no. CR S 09-0438 EJG
     Continue Sentencing
